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     LINDSAY ANNE WESTON
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 2   Davis, California 95618
     (530) 756-7774
 3
     Attorney for Defendant
 4   TANISHA RENEE SIMPSON
 5
                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF CALIFORNIA
 7

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 9
     UNITED STATES OF AMERICA
                                                     )   Case No.: CR S-07-302 GEB
                    Plaintiff,                       )
10
                                                     )   STIPULATION AND [PROPOSED] ORDER
            vs.                                      )
11
                                                     )   CONTINING STATUS CONFERENCE AND
     JAMOL DEVON BARKER, et. al.,                    )   EXCLUDING TIME
12
                                                     )   .
                    Defendants.                      )
13
                                                     )
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16
                    It is hereby stipulated and agreed to between the United States of America
17
     through Kenneth J. Melikian, Assistant United States Attorney; defendant, JAMOL DEVON
18

19   BARKER, by and through his counsel, Michael Bigelow; defendant, MAURICE GENE
20
     GODFREY, by and through his counsel, Assistant Federal Defender Rachelle Barbour; and
21
     defendant, TANISHA RENEE SIMPSON, by and through her counsel, Lindsay Anne Weston,
22

23   that the status conference in this matter currently scheduled for Friday, September 7, 2007, at

24   9:00 a.m. be continued to October 12, 2007, at 9:00 a.m.
25
            The basis for this request is that defense counsel for defendants Jamol Barker and
26
     Tanisha Simpson were just appointed within the previous week and request time within which to
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     receive and /or review discovery and consult with their respective clients before appearing at a
 1

 2   status conference.
 3
              IT IS FURTHER STIPULATED that the period from September 7, 2007, (the date
 4
     currently set for the status conference) through and including October 12, 2007, be excluded in
 5

 6   computing the time within which trial must commence under the Speedy Trial Act, pursuant to

 7   18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for continuity and preparation of counsel.
 8
     Dated: September 5, 2007                     Respectfully submitted,
 9

10

11                                                /s/Lindsay Weston
                                                  _________________________________
12
                                                  LINDSAY ANNE WESTON
13                                                Attorney for Defendant
                                                  TANISHA RENEE SIMPSON
14

15                                                /s/ Lindsay Weston for
                                                  ____________________________________
16                                                MICHAEL BIGELOW
17                                                Attorney for Defendant
                                                  JAMOL DEVON BARKER
18

19
                                                  /s/ Lindsay Weston for
20                                                ___________________________________
                                                  RACHELLE BARBOUR
21
                                                  Assistant Federal Defender
22                                                Attorney for Defendant
                                                  MAURICE GENE GODREY
23

24
     //////
25

26   /////

27   /////
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     //////



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 1
     Date: September 5, 2007             MCGREGOR W. SCOTT
 2                                       United States Attorney
 3
                                         /s/ Lindsay Weston for
 4                                       _______________________________
                                         KENNETH J. MELIKIAN
 5
                                         Assistant United States Attorney
 6                                       Per telephonic authority

 7

 8

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10
                                   ORDER

11   IT IS SO ORDRED.
12
     Dated: September 5, 2007
13                                        GARLAND E. BURRELL, JR.
14
                                          United States District Judge

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